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                            UNITED STATES DISTRICT COURT
  14
                           CENTRAL DISTRICT OF CALIFORNIA
  15

  16    JANE DOE, on behalf of herself and all      CASE NO. 8:21-CV-00338-CJC-
        others similarly situated,                  ADS
  17
                                 Plaintiff,         Judicial Officer: Cormac J. Carney
  18    v.
                                                    PLAINTIFF’S RESPONSE TO
  19    MINDGEEK USA INCORPORATED,                  DEFENDANTS’ NOTICE OF
        MINDGEEK S.A.R.L., MG FREESITES,            CHANGE IN AUTHORITY
  20    LTD (D/B/A PORNHUB), MG
        FREESITES II, LTD, MG CONTENT RT
  21    LIMITED, AND 9219-1568 QUEBEC,
        INC. (D/B/A MINDGEEK),
  22
                                 Defendants.
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   1         On October 28, 2021, Defendants submitted a self-styled “Notice of Change
   2   in Authority.” Dkt. No. 83. There has been no “change” in any authority. The two
   3   case “developments” Defendants identify provide no grounds for the Court to
   4   reconsider its order substantially denying Defendants’ motion to dismiss or to certify
   5   any issues for interlocutory appeal.
   6         First, Defendants point to Doe v. Twitter, Inc., where the magistrate judge
   7   granted Twitter’s motion to certify for interlocutory appeal on issues that have no
   8   bearing on whether this case proceeds. See Dkt. No. 83-1. Since the court already
   9   dismissed the Twitter plaintiffs’ other federal and state-law claims for failure to allege
  10   that Twitter acted as a content creator or engaged in direct sex trafficking in violation
  11   of 18 U.S.C. § 1591, 1 the only questions raised in Twitter’s motion were whether
  12   plaintiffs could pursue their beneficiary liability claim under Section 1595 of the
  13   TVPRA, 18 U.S.C. § 1595, without alleging that Twitter committed a criminal sex
  14   trafficking violation under §1591, and the meaning of “participation in a venture”
  15   under §1591.
  16         The mere granting of interlocutory appeal in a different case is not a “change
  17   in authority.” Regardless, the §1595 issues raised in Twitter do not control the
  18   outcome of this case. Unlike in Twitter, this Court already held that Plaintiff
  19   adequately alleged MindGeek acted as a content creator not subject to Section 230
  20   immunity—allowing Plaintiff’s non-TVPRA claims to proceed to discovery. These
  21   claims, which involve the same factual issues and therefore discovery as the TVPRA
  22   claims, do not depend on the statutory interpretation issue of §1595 and §1591 and
  23   will be unaffected by appellate resolution of the issues raised in Twitter. See Dkt. No.
  24   74 at 23 (Pltf.’s Opp. to Mtn. for Reconsideration or Interlocutory Appeal). In
  25   addition, Plaintiff’s Complaint alleges that MindGeek violated both §1595 and
  26   §1591. Plaintiff’s §1595 claim would therefore survive even if the Ninth Circuit were
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        See Doe v. Twitter, Inc., No. 21-cv-00485-JCS, 2021 WL 3675207, at *19-20, *29-
  28   34 (N.D. Cal. Aug. 19, 2021) (dismissing all claims except the Section 1595 claim).
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   1   to hold that a plaintiff bringing a §1595 claim must plead that the defendant violated
   2   §1591. See id.; see also Dkt. No. 49 at 15-17 (Pltf.’s Opp. to MTD); Dkt. No. 66 at
   3   10-13, 15-16 (MTD Opinion).
   4         Second, Defendants cite the Doe v. Reddit Inc. Court’s entry of an order
   5   dismissing plaintiffs’ claims with prejudice. This “development” is nothing new. In
   6   Reddit, the Court dismissed plaintiffs’ complaint on October 7, 2021 with leave to
   7   amend within thirty days. After the Reddit plaintiffs notified the Court on October 27
   8   that they did not intend to amend their complaint, the Court simply entered an order
   9   formally dismissing their claims.
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  11   Dated: November 1, 2021              DAVIDA BROOK
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